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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

 STATE OF UTAH, et al.,

            Plaintiffs,

 v.                                                        2:23-CV-016-Z

 VINCE MICONE, et al.,

            Defendants.

                           MEMORANDUM OPINION AND ORDER

        Before the Court are the parties' competing motions for summary judgment. Plaintiffs filed

 their Motion for Summary Judgment ("Plaintiffs' Motion") (ECF No. 144), on October 16, 2024.

 Defendants filed their Motion for Summary Judgment ("Defendants' Motion") (ECF No. 145), on the

 same date. Having considered the motions, briefing, and relevant law, the Court DENIES Plaintiffs'

 Motion and GRANTS Defendants' Motion.

        INTRODUCTION

        This case comes from then-President Biden's neutralization of a Trump-era rule that

 forbade ERISA fiduciaries from considering nonpecuniary factors when making investment

 decisions. The Department of Labor promulgated a replacement rule that, among other things,

 allowed fiduciaries to consider collateral benefits when deciding between competing investment

 options that each equally served the beneficiaries' financial interests. This Court held that

 Chevron deference meant the rule did not violate ERISA. The Fifth Circuit asks this Court to

 reconsider whether it violates ERISA after the Supreme Court reversed Chevron.

        Now, the Court holds the rule is not contrary to ERISA under a post-Chevron analysis.

 Under the rule, a fiduciary faced with choosing between investment options -      that all equally
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 serve the beneficiaries' financial interests -   does not advance the interests of nonbeneficiaries

 nor act for a purpose other than their financial benefit when he chooses based on collateral

 factors. Plaintiffs' interpretation of ERISA would demand arbitrary randomness to choose

 between such investment options. It embodies the wooden textualism that courts should

 endeavor to avoid. See United States v. Palomares, 52 F.4th 640, 649 (5th Cir. 2022) (Oldham,

 J., concurring in the judgment) ("We do the law a disservice when we suggest that textualist

 exegeses are reducible to math problems, logic puzzles, or hyper-literalist readings .... ").

        ERISA does not require such capriciousness. A fiduciary has acted in full accord with his

 ERISA duty of loyalty when he chooses between investment options that all are valid options

 because they each maximize the beneficiaries' financial benefits.

        BACKGROUND

        I. The Employee Retirement Income Security Act and Previous Rules

        Congress passed the Employee Retirement Income Security Act of 1974 ("ERISA") in

 response to automaker Studebaker's failures. Employee Retirement Income Security Act of

 1974, Pub. L. No. 93-406, 88 Stat. 829. Congress fashioned it to protect "the interests of

 participants in employee benefit plans and their beneficiaries." 29 U.S.C. § lO0l(a). ERISA

 protects two sorts of pension plans: ( 1) defined benefit plans; and (2) defined contribution plans,

 called "individual account plans." 29 U.S.C. § 1002(34), (35). For the second sort, plan sponsors

 (usually the employer or a group of employers) must choose the participants' available

 investment options. See id. § 1002( 16). ERISA dictates that these plan sponsors are fiduciaries

 because they may manage the plan themselves or hire others (e.g., administrators, investment

 managers, trustees, and advisors) to perform various plan-management tasks. See id.

 § 1002(21)(A).




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        Congress imposed requirements and duties on the plan sponsors and their delegees to

 protect plan participants. These include requirements for "disclosure and reporting to participants

 and beneficiaries," and "standards of conduct, responsibility, and obligation for fiduciaries of

 employee benefit plans." Id. § l 001 (b). Beneficiaries have a remedy for the violation of any of

 these requirements. Id.; id. § 1132.

        Congress placed two specific fiduciary duties on plan sponsors and their delegees. First, a

 fiduciary must "discharge his duties with respect to a plan solely in the interest of the participants

 and beneficiaries" and "for the exclusive purpose of ... providing benefits to participants and

 their beneficiaries." Id. § 1104(a)(l), (a)(l)(A)(i). This is the duty of loyalty. Second, fiduciaries

 must act with "care, skill, prudence, and diligence under the circumstances then prevailing that a

 prudent man acting in a like capacity and familiar with such matters would use in the conduct of

 an enterprise of a like character and with like aims." Id. § 1104(a)(l)(B). This is the duty of

 prudence. These duties are together "the highest known to the law." Schweitzer v. Inv. Comm. of

 Phillips 66 Sav. Plan, 960 F.3d 190, 194 (5th Cir. 2020) (quoting Tatum v. RJR Pension Inv.

 Comm., 761 F.3d 346, 356 (4th Cir. 2014)). They spring "from the common law of trusts." Id.

 (quoting Tibble v. Edison Int'/, 575 U.S. 523, 528 (2015)).

        The Department of Labor ("DOL") promulgates rules and regulations to carry out

 ERISA. 29 U.S.C. § 1135. Since ERISA's passage, DOL regulations have never allowed

 fiduciaries   to   overpower     financial-benefit    considerations    with    nonfinancial-benefit

 considerations -   even though the details and strength of the regulatory language have waxed

 and waned. See ECF No. 39 at 14-16. Even so, DOL never once forbade consideration of

 nonfinancial benefits when selecting between investment options that served financial benefits




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 equally. Prudence and Loyalty in Selecting Plan Investments and Exercising Shareholder Rights,

 87 Fed. Reg. 73822, 73824 (Dec. 1, 2022) (codified at 29 C.F.R. pt. 2550).

        Seeking additional clarity, DOL promulgated the Financial Factors in Selecting Plan

 Investments Rule ("2020 Rule"). Financial Factors in Selecting Plan Investments, 85 Fed. Reg.

 72846 (Nov. 13, 2020). The 2020 Rule reiterated previous guidance and clarified that fiduciaries

 may only evaluate investments "based ... on pecuniary factors." Id. at 72846. Fiduciaries must

 "act with a single-minded focus on the interests of beneficiaries" in accord with the duty of

 loyalty. Id. at 72848. The DOL found the 2020 Rule justified to remedy some "perceived

 variation in some aspects of [DOL's] past guidance on the extent a fiduciary may consider non-

 pecuniary factors in making investment decisions." Id. at 72850.

        Consistent with previous guidance, the 2020 Rule forbade subordination of financial

 benefit considerations to other objectives. Id. at 72884. But it did not bar the consideration of

 nonpecuniary factors to break the tie between two "economically indistinguishable" investment

 alternatives. Id. at 72860-61, 72884. The 2020 Rule imposed documentation requirements when

 this occurred. Id. at 72851, 72884. However, the 2020 Rule stripped all discussion of the

 potential consideration of nonfinancial factors for financial benefit reasons. Prudence and

 Loyalty in Selecting Plan Investments and Exercising Shareholder Rights, 87 Fed. Reg. at 72884,

 73825, 73856. Confusion ensued. Id. Fiduciaries no longer had clarity on whether nonfinancial

 factors could be considered "even when those factors are financially material." Id. at 73826.

        II. The 2022 Rule

        Seeking additional clarity once more, DOL promulgated the Prudence and Loyalty in

 Selecting Plan Investments and Exercising Shareholder Rights Rule ("2022 Rule"). Id. at 73822.

 The 2022 Rule clarified that nonpecuniary factors could be considered for pecuniary reasons




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          when evaluating investment options. Id. at 73885. Further, the 2022 Rule clarified that risk and

          return factors "may include" environmental and social governance ("ESG") and related

          nonpecuniary factors depending on individual facts and circumstances. Id. at 73885. The 2022

          Rule also modified the 2020 Rule's standard for the tiebreaker provision to '"equally serve the

          financial interest of the plan over an appropriate time horizon." Id. Finally, it eliminated the 2020

          Rule's documentation requirements surrounding the tiebreaker provision to not deter fiduciaries

          from finding a tie between two investment options. Id. at 73838.

                 III. Procedural History

                 Plaintiffs challenged the 2022 Rule on January 26, 2023, and filed a preliminary

          injunction motion on February 24, 2023. ECF Nos. 1, 39. The Plaintiffs then consolidated trial

          on the merits with the preliminary injunction hearing under Federal Rule of Civil Procedure

          65(a)(2). ECF No. 89. The Court granted Defendants' cross-motion for summary judgment on

          September 21, 2023. ECF No. 109. Plaintiffs timely appealed. ECF No. 115. The Fifth Circuit

          vacated this Court's judgment and remanded for the limited purpose of reconsidering Plaintiffs'

          challenge under the Supreme Court's decision in Loper Bright Enterprises v. Raimondo. 144 S.

          Ct. 2244 (2024). The Fifth Circuit vacated and remanded because this Court's grant of summary

          judgment relied on the then-governing Chevron standard for its statutory analysis. The Supreme

          Court overturned Chevron while the Fifth Circuit appeal was pending. ECF No. 128.

                 After remand, the parties agreed to file supplemental briefs in support of motions for

          summary judgment and opposing the other parties' summary judgment motion. ECF No. 139.

          Accordingly, both sides filed their summary judgment motions on October 16, 2024. ECF Nos.

          144, 145. And both responded to the others' summary judgment motion on November 6, 2024.

          ECF Nos. 168, 169. The Motions are now ripe.




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          LEGAL ST AND ARD

          Summary judgment is appropriate if the movant shows there is no genuine dispute of

 material fact, and the movant is entitled to judgment as a matter of law. FED. R. C1v. P. 56(a).

 The moving party bears the initial burden of demonstrating both. See Celotex Corp. v. Catrett,

 477 U.S. 317, 322 (1986). A genuine dispute of material fact exists if "the evidence is such that a

 reasonable jury could return a verdict for the non-moving party." Anderson v. Liberty Lobby,

 Inc., 477 U.S. 242,248 (1986).

          Summary judgment "is particularly appropriate in cases in which the court is asked to

 review or enforce a decision of a federal administrative agency." Girling Health Care, Inc. v.

 Shala/a, 85 F.3d 211, 214-15 (5th Cir. 1996). "Under the APA, it is the role of the agency to

 resolve factual issues to arrive at a decision that is supported by the administrative record."

 Hi-Tech Pharmacal Co., Inc. v. FDA, 587 F. Supp. 2d 13, 18 (D.D.C. 2008). And it is the role of

 the court in an AP A case to "sit[] as an appellate tribunal." Am. Bioscience, Inc. v. Thompson,

 269 F.3d 1077, 1083 (D.C. Cir. 2001); see also Amin v. Mayorkas, 24 F.4th 383, 391 (5th Cir.

 2022). In such a posture, the "entire case on review is a question of law, and only a question of

 law." Marshall Cnty. Health Care Auth. v. Shala/a, 988 F.2d 1221, 1226 (D.C. Cir. 1993). So

 summary judgment in an AP A case "merely serves as the mechanism for deciding, as a matter of

 law, whether the agency action is supported by the administrative record and otherwise

 consistent with the APA standard of review." Oceana, Inc. v. Locke, 831 F. Supp. 2d 95, 106

 (D.D.C. 2011). Judicial review under the APA is limited to the administrative record. 5 U.S.C.

 § 706.




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        ANALYSIS

        On limited remand, the Court must decide whether the 2022 Rule is contrary to ERISA

 under Loper Bright's standard. 144 S. Ct. 2244 (2024). This Court's vacated decision held the

 2022 Rule did not violate ERISA under the then-binding Chevron deference standard. See

 Chevron, US.A., Inc. v. Nat. Res. Def Council, Inc., 467 U.S. 837 (1984), overruled by Loper

 Bright, 144 S. Ct. 2244. Loper Bright and the Administrative Procedure Act ("APA") now

 govern the contrary-to-law analysis by overturning Chevron. Plaintiffs reassert their original

 challenges to the 2022 Rule. See ECF No. 144 (claiming the 2022 Rule is contrary to law, is

 arbitrary and capricious, and is barred by the major questions doctrine).

        Defendants agree that Loper Bright has implications regarding the statutory analysis of

 the contrary-to-law argument. ECF No. 145 at 7. But they counter that "Loper Bright has no

 relevance" to the prior holdings that the 2022 Rule is not arbitrary and capricious nor violative of

 the major questions doctrine. Id. Plaintiffs maintain that Chevron's demise undercuts all these

 holdings. ECF No. 144 at 6. Thus, Plaintiffs would have this Court completely revisit its

 previous decision and Defendants would only have the statutory analysis revisited.

        The Court declines to go beyond the contours of the Fifth Circuit's limited remand. The

 Fifth Circuit vacated this Court's judgment and remanded "for the limited purpose of

 reconsidering Plaintiffs' challenge in light of the Supreme Court's decision in Loper Bright."

 Utah v. Su, 109 F.4th 313, 322 (5th Cir. 2024). Elsewhere, the court again described its remand

 as "limited." Id. at 321. The court underscored the scope of the remand by clarifying it was

 meant to "leav[e] the district court to address the important statutory issues in the first instance."

 Id. (emphasis added).




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         An analysis of Loper Bright reveals why. Loper Bright did not disturb how courts

 evaluate a rule under the APA's arbitrary and capricious standard. Loper Bright overturned

 Chevron and held that the consequence was courts "must exercise their independent judgment in

 deciding whether an agency has acted within its statutory authority." Loper Bright, 144 S. Ct. at

 2273. Chevron itself was a statutory-interpretation case. Chevron, 467 U.S. at 849 n.22 ("[T]he

 controversy in these cases involves the meaning of the term 'major stationary sources' .... "

 (quoting 42 U.S.C. § 7502(b)(6) (1982))). Its demise changed how courts should interpret

 statutes -   not how they review agency decisions for unreasonableness. Loper Bright even

 explained that the APA did not institute any deference standard for relevant questions of law but

 that the AP A "does mandate that judicial review of agency policymaking and factfinding be

 deferential." 144 S. Ct. at 2261. Thus, Loper Bright "did not disturb the arbitrary and capricious

 review standard." BENJAMIN M. BARCZEWSKI, CONG. RscH. SERV., R48320, LOPER BRIGHT

 ENTERPRISES V. RAIMONDO AND THE FUTURE OF AGENCY INTERPRETATIONS OF LAW 28 (2024);

 see also id. at ii ("Exercises of statutorily delegated policy discretion are (and will continue to

 be) reviewed under the APA's deferential arbitrary and capricious standard.").

         The Fifth Circuit has treated Loper Bright as altering neither the arbitrary and capricious

 standard nor the major questions doctrine. In Mayfield v. United States Department of Labor, the

 Fifth Circuit treated its major questions analysis as entirely separate from Loper Bright's

 implications. 117 F .4th 611, 617 ("Having determined that the major questions doctrine does not

 apply, we turn to [Appellant's] argument ... [on] statutory authority. In Loper Bright ... ."). It

 did the same for an arbitrary and capricious analysis in Restaurant Law Center v. United States

 Department of Labor. 120 F.4th 163, 175 (5th Cir. 2024) ("Even without Chevron, we

 understand that courts are still to conduct a similar arbitrary-and-capricious analysis .... "). And




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 when the appellants in Airlines for America v. Department of Transportation attempted to cite

 Loper Bright in an arbitrary and capricious analysis, the court dismissed the argument because

 Loper "involved disputes about the meaning of statutory language." No. 24-60231, 2025 WL

 313998, at"' 11 n.13 (5th Cir. Jan. 28, 2025).

        Consequently, the Court rejects Plaintiffs' request to expand the scope of the Fifth

 Circuit's limited remand and interpret Loper Bright to affect standards it does not affect. The

 Court's previous reasoning on whether the 2022 Rule is arbitrary and capricious or violative of

 the major questions doctrine stands.

        I. The 2022 Rule Is Not Contrary to Law

        The AP A demands courts "hold unlawful and set aside" agency action "not in accordance

 with law" and "in excess of statutory jurisdiction." 5 U.S.C. § 706(2)(A), (C). When doing so,

 the "court shall decide all relevant questions of law" and "interpret ... statutory provisions." Id.

 § 706. After Loper Bright, the "text of the APA means what it says." 144 S. Ct. at 2262.

                A. Loper Bright's Standard

         Loper Bright changed how courts evaluate whether agency actions are in accordance

 with law. Loper Bright overruled Chevron, which required courts to defer to "permissible"

 agency interpretations of a statute even if the court "would have reached" a different view "if the

 question initially had arisen in a judicial proceeding." Loper Bright, 144 S. Ct. at 2264 (quoting

 Chevron, 467 U.S. at 843 n.11). The Chevron analysis proceeded in "three distinct steps." Rest.

 L. Ctr., 120 F.4th at 170. District courts were "of course correct to apply the Chevron

 framework" before Loper Bright. Id. at 171. But now that Chevron is gone, this Court

 reevaluates under the Loper Bright standard.




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            Loper Bright simply instructs courts to follow "the AP A's basic textual command." Id. It

 affirmed "the unremarkable, yet elemental proposition reflected by judicial practice dating back

 to Marbury: that courts decide legal questions by applying their own judgment." Loper Bright,

  144 S. Ct. at 2261 (citing Marbury v. Madison, 5 U.S. (1 Cranch) 137 (1803)). It clarified that

 this is exactly what the APA requires. Id. (quoting 5 U.S.C. § 706 (courts decide "all relevant

 questions of law")). Now, courts employ "no deferential standard" when "answering those legal

 questions." Id. Instead, courts may use "all relevant interpretive tools" to find the "best" reading

 of a statute. Id. at 2266. No longer is a "permissible" reading enough. Id. If Congress does not

 define its terms, "we accord those terms their 'ordinary, contemporary, common meaning."' Van

 Loon v. Dep 't of the Treasury, 122 F.4th 549, 563 (5th Cir. 2024) (quoting Rest. L. Ctr. v. United

 States Dep't of Lab., 115 F.4th 396, 403-04 (5th Cir. 2024) (internal quotation marks and

 citations omitted), withdrawn by Rest. L. Ctr., 120 F.4th 163). In short, courts must

 "independently interpret the statute and effectuate the will of Congress." Loper Bright, 144 S. Ct.

 at 2263.

                  B. Text and Structure

         "As usual, we start with the statutory text." Tanzin v. Tanvir, 592 U.S. 43, 46 (2020).

 ERISA imposes fiduciary duties of loyalty and prudence. 29 U.S.C. § 1104(a)(l)(A)-(C). The

  duty of loyalty's statutory text requires a fiduciary to act "solely in the interest of the participants

 and beneficiaries." Id. § l 104(a)(l). This means the fiduciary must act "for the exclusive purpose

 of ... providing benefits to participants and their beneficiaries." Id. § 1104(a)(l)(A), (A)(i). The

 parties agree that the term "benefits" in ERISA means only "financial benefits" as the Supreme

  Court previously held. Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409,421 (2014); ECF No.

  145 at 8.




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                        1. ERISA's Text

        Plaintiffs argue that the "ordinary meaning" of "solely" and "exclusive" forbid the

 fiduciary from employing "any other considerations" when administering plans. ECF No. 144 at

 7-8. They marshal dictionary definitions for each word to show that "solely" means all else is

 excluded, and "exclusive" means undivided or unshared. Id. at 8. Together, Plaintiffs argue that

 ERISA's duty of loyalty means fiduciaries must act for the undivided purpose of advancing the

 financial benefits of the beneficiaries alone. They maintain the 2022 Rule violates ERISA's strict

 text imposing high duties. "ERISA's duty of loyalty," they advance, "is a categorical

 prophylactic that bars collateral considerations." Id. at 9. But they argue the 2022 Rule violates

 this prophylactic bar by permitting fiduciaries to consider "collateral benefits" when deciding

 between "competing investments" that "equally serve the financial interests of the plan."

 29 C.F.R. § 2550.404a-l(c)(2) (2023).

        Defendants counter that the 2022 Rule's provisions naturally fit ERISA's language. ECF

 No. 145 at 8-9. They say the 2022 Rule "reaffirms ERISA's requirement that plan participants'

 financial interests must be paramount." Id. at 8. It does so because it bars fiduciaries from

 placing the interests of participants and beneficiaries under all other objectives. And it prohibits

 "sacrific[ing] investment return or tak[ing] on additional investment risk to promote goals

 unrelated to the interests of the participants and beneficiaries in their plans." 29 C.F.R.

 § 2550.404a-l(c)(l) (2023). They recognize that the 2022 Rule permits fiduciaries to consider

 "collateral factors under tightly limited circumstances" -   namely when a fiduciary must choose

 between two competing investment plans that equally serve the plan. ECF No. 145 at 9. A

 fiduciary must adhere to his duty of prudence when determining whether two competing

 investments truly equally serve the plan. 29 C.F.R. § 2550.404a-l(c)(2) (2023). They conclude




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  the 2022 Rule's "tiebreaker prov1s1on installs double guardrails: both a strict ban on

  subordinating financial benefits and an insistence that any determination of a tie itself must be

 prudent. Id (emphasis in original).

         The 2022 Rule's tiebreaking provision does not violate ERISA's text because it never

 permits fiduciaries to deviate from exclusively achieving financial benefits for the beneficiaries

  alone. The Court, like Plaintiffs, turns to the definitions of "solely" and "exclusive." See MCI

  Telecomms. Corp. v. Am. Telephone & Telegraph Co., 512 U.S. 218 (1994) (Scalia, J.)

  (construing a statutorily undefined term using several dictionaries). "Solely" means "to the

  exclusion of all else" or "without another." Solely, MERRIAM-WEBSTER DICTIONARY ONLINE,

  https://www.merriam-webster.com/dictionary/solely [https://perma.cc/PP6U-3YDM]; see also

 Solely, OXFORD ENGLISH DICTIONARY (3d ed. rev. 2024) (defining "solely" as "[o]nly, merely,

  exclusively"). And "exclusive" means "[l]imited to a particular person, group, entity, or thing."

 Exclusive, BLACK'S LAW DICTIONARY (12th ed. 2024); see also Exclusive, WEBSTER'S THIRD

 NEW INTERNATIONAL DICTIONARY UNABRIDGED (2002) (defining "exclusive" as "single, sole").

         Taken together, a fiduciary must act in the interest of the beneficiaries "to the exclusion

  of all" other interests for the "single," "limited" purpose of advancing their financial benefits.

  Plaintiffs overextend these meanings. They would stretch the text of ERISA to mean a fiduciary

  can consider nothing but financial factors on the beneficiaries' behalf. ECF No. 144 at 8.

         That is not correct. ERISA instead defines whose interest the fiduciary must protect and

 what the fiduciary's purpose is. It says nothing of what they may consider. The ordinary

 meaning of these terms is that a fiduciary must always discharge his duties in the interest of the

 beneficiary alone and only for the purpose of gaining financial benefits. This does not mandate

 blinkered blindness. Nor will the Court read it to present a "logic puzzle[]." Palomares, 52 F.4th




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 at 649 (Oldham, J., concurring in the judgment); ECF No. 145 at 12 ("Plaintiffs' position is

 paradoxical."). Other considerations can come into play, but they must be oriented toward the

 interests of the beneficiary alone and not for another purpose than financial benefit.

        The ordinary meaning of these terms defines how a fiduciary must discharge his duties.

 They do not bind what a fiduciary may consider when discharging his duties appropriately. A

 fiduciary violates ERISA's duty of loyalty the second he acts for the interests of another or has

 any other purpose besides promoting financial benefits. He does not contradict ERISA' s duty of

 loyalty when discharging his duties when all actions are in the interests of the beneficiary and for

 the purpose of reaping financial benefits. Other considerations may be utilized if they do not alter

 or add to the interests the fiduciary represents or his purpose.

        The 2022 Rule recognizes these textual realities. It prohibits a fiduciary from ever placing

 any other interest before the beneficiaries' interests. 29 C.F.R. § 2550.404a-l(c)(l) (2023). He

 must act for the beneficiaries' interest alone. And it bars a fiduciary from ever accepting lower

 investment returns or higher risks to promote anything that is not in the beneficiaries' sole

 interest. Id. In the tiebreaker provision, when a fiduciary comes to competing investment courses

 of action that "equally serve the financial interests of the plan over the appropriate time horizon,"

 the fiduciary may look to "collateral benefits other than investment returns" to select the best

 plan. Id. § 2550.404a-l(c)(2). When doing so, the fiduciary may never "accept expected reduced

 returns or greater risk to secure such additional benefits." Id.

        Nothing in the tiebreaker provision of the 2022 Rule allows the fiduciary to act in a way

 contrary to the sole interests of the beneficiaries or for any purpose other than their financial

 benefit. When the fiduciary identifies competing investment courses of action that all "equally

 serve the financial interests of the plan," then any choice between those actions is in the sole




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     interest of the beneficiary and for the exclusive purpose of maximizing his financial benefits. All

     options the fiduciary faces accomplish, and do not evade, the fiduciary's duty of loyalty.

             Just as a driver, duty-bound to choose the fastest route to his destination, may choose the

     most scenic of two routes that each bring him to his destination at the same time, so too can a

     fiduciary choose a preferable investment option between two that will equally satisfy his duty of

     loyalty. When the driver takes the most scenic of the two fastest, he does not act for a different

     purpose than taking the fastest route -   he did choose the fastest route. The fact it is also scenic

     does not mean he employed another purpose at all. If he had chosen the two most scenic

     routes - and then selected the fastest of the two - he would have acted with an impermissible

     purpose. He could choose the most scenic of fast routes but could not choose the fastest of scenic

     routes. The order elucidates his exclusive purpose.

             In the same way, when a fiduciary comes to two routes that each equally serve the plan's

      financial interests, any choice he makes is for the "exclusive purpose" of financial benefit. He

     has acted with the duty ERISA requires. When he chooses between the plans using other factors,

     nothing about his purpose has changed. Of course, his duty has not "run out" or left him dutiless.

     See Oral Argument at 20:03, Utah v. Su, 109 F.4th 313 (2024) (No. 23-11097), https://www.ca5.

     uscourts.gov/OralArgRecordings/23/23-11097_ 7-9-2024.mp3            [https://perma.cc/S2CC-2Z7N].

     Rather, whatever choice he makes is for the "exclusive purpose" ERISA mandates. Just like the

     driver may not choose the fastest of the scenic routes, the fiduciary cannot choose the most

      lucrative of the other-factor options. Doing so would mean he would be acting for a purpose

     other than financial benefit. See Oral Argument at 18:43-20:15, Su, 109 F.4th 313, https://www.

     ca5.uscourts.gov/OralArgRecordings/23/23-11097_7-9-2024.mp3 [https://perma.cc/S2CC-2Z7N].

     He would have no way of knowing he found the most financially advantageous plan if he began




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     his search with impermissible factors. But he could consider them at the end once he reaches a

     tie because any choice is in accord with his duty. Because then he only considers them to aid his

      exclusive purpose of achieving financial benefits.

                            2. Duty of Diversification and the Tiebreaker Provision

             Plaintiffs argue that even if the tiebreaker provision does not violate ERISA's text, it is

     needless because "ERISA already supplies its own default answer, making a tiebreaker

     unnecessary." ECF No. 144 at 8. This default answer is ERISA's duty to diversify investment

      options. ERISA imposes a duty to diversity "to minimize the risk of large losses, unless under

     the circumstances it is clearly prudent not to do so." 29 U.S.C. § 1104(a)(l)(C). Plaintiffs argue

     this means "choose both investments when possible." ECF No. 144 at 8.

             Defendants uncover the obvious textual flaw in the argument. ERISA's text plainly says

      diversification is not required when "it is clearly prudent not to do so." 29 U.S.C.

      § 1104(a)(l)(C). It is clearly not prudent to do so when "investing in two (or more) alternatives

     that equally serve the financial interests of the plan, rather than one, entails additional costs (such

      as transaction or monitoring costs) that offset the benefits" of diversifying. Prudence and Loyalty

      in Selecting Plan Investments and Exercising Shareholder Rights, 87 Fed. Reg. at 73836.

             Plaintiffs counter that the 2022 Rule itself does not limit its application to breaking ties

     when diversification is imprudent. ECF No. 168 at 5. But it plainly does. When a fiduciary

      determines whether a tie exists, he must do so prudently. 29 C.F.R. § 2550.404a-l(c)(2) (2023).

     And the duty of prudence includes diversifying unless clearly imprudent. Thus, investing in both

      investment options would be required in a tiebreaker scenario only if it were prudent to do so.

      ERISA's duty to diversify means the tiebreaker provision is textually narrow- but not needless.

     Thus, it does not permit violating ERISA's duty of prudence, either.




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                             3. ERISA's Exceptions to the Duty of Loyalty

             Plaintiffs also attempt an expression unius est exclusion alterius argument. They claim

      that ERISA provides for exceptions to its duty to loyalty. See ECF No. 144 at 8-9 (citing 29

      U.S.C. §§ 1103(c)(2)(A), (c)(2)(b), (d), 1104(a)(l), 1107(b)(l), (d)(3)(A)(ii), 1108(c)(3)).

      Because, they argue, Congress permitted some narrow exceptions to the duty of loyalty then the

      2022 Rule's tiebreaker provision cannot add another. However, Defendants note that the

      "tiebreaker ... is not an exception to ERISA's fiduciary duties." ECF No. 167 at 6. They are

      again correct. The tiebreaker provision provides clarification on how to choose between several

      equal options -    all of which would accord with a fiduciary's duties. It does nothing more. It

      does not need an exception to the duty of loyalty simply because it does not permit violating the

      duty of loyalty.

                                                   *     *   *

             In summary, the 2022 Rule's tiebreaker provision does not violate ERISA's text that

      imposes a duty of loyalty. It does not authorize a fiduciary to act in the interest of someone other

      than the beneficiary. It does not authorize a fiduciary to act for other purposes than the purpose

      of advancing the beneficiaries' financial benefit. If it did, then it would permit other

      considerations to be placed first such that their pursuit became the fiduciary's purpose. Instead, it

      only allows those other considerations - not to alter interests or change purposes - but to carry

      them out.

             Plaintiffs' contention that "[ e]ven a coin flip is preferable to collateral considerations"

      illustrates that Plaintiffs' reading of ERISA inevitably leads to irrationality. See RESTATEMENT

      (THIRD) OF AGENCY § 8.01 cmt. b (AM. L. INST. 2006) (explaining that "flipping a coin" in an

      analogous scenario is acting in bad faith against general fiduciary principles); cf Bostock v.




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 Clayton Cnty., 590 U.S. 644, 789 n.4 (Kavanaugh, J., dissenting) (explaining that "the absurdity

 canon ... reflects the law's focus on ordinary meaning rather than literal meaning"). When

 Plaintiffs advance a reading that forbids considering anything but arbitrariness, they entirely

 foreclose a fiduciary's ability to choose between equal investments on any grounds. ECF No.

 145 at 12 (explaining that "any means of choosing among [two equal plans] is definitionally

 'collateral"'). The Court declines to stretch ERISA's text to reach a result requiring randomness.

                C. Common Law Roots

        ERISA's text "codified the touchstone of common law fiduciary status." Chamber of

 Com. of the US. v. US. Dep't of Lab., 885 F.3d 360,369 (5th Cir. 2018). Because Congress

 used the common law term "fiduciary" in ERISA, courts are to presume, absent contrary

 indication, that "Congress intend[ed] to incorporate the well-settled meaning of the common-law

 terms it use[d]." Sekhar v. United States, 570 U.S. 729, 732 (2013) (quoting Neder v. United

 States, 527 U.S. 1, 23 (1999)); see also RESTATEMENT (THIRD) OF TRUSTS§ 78(1) (2007) ("[A]

 trustee has a duty to administer the trust solely in the interest of the beneficiaries .... "). In other

 words, the "old soil" comes along with the term. Twitter, Inc. v. Taamneh, 598 U.S. 471, 484

 (2023) (quoting Sekhar, 570 U.S. at 733).

        In the ERISA context, the presumption is particularly strong. See Tibble v. Edison Int 'l,

 575 U.S. 523, 528-29 (2015) ("In determining the contours of an ERISA fiduciary's duty, courts

 often must look to the law of trusts."). But it is not ironclad. See Varity Corp. v. Howe, 516 U.S.

 489, 497 (1996) ("[W]e believe that the law of trusts often will inform, but will not necessarily

 determine the outcome of, an effort to interpret ERISA's fiduciary duties."). Though rooted in

 the common law, ERISA's text is ultimately what governs. See id. at 528 (Thomas, J.,

 dissenting) ("[W]e must not forget that ERISA is a statute, and in 'every case involving




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  construction of a statute,' the 'starting point ... is the language itself."' (quoting Ernst & Ernst v.

 Hochfelder, 425 U.S. 185, 197 (1976))). The text is rooted in the old soil but, of course, it is not

  itself the old soil.

          Thus, the common law meanings help elucidate the statutory terms but do not govern

 their meaning. See Varity Corp., 516 U.S. at 528 (Thomas, J., dissenting) (interpreting the

  common law meanings first and then the statutory provisions "stands [the] traditional approach

  on its head"). Rather, Congress delegated to the Department of Labor the power to craft "an

  important body of regulations interpreting ERISA fiduciary law." JOHN H. LANGBEIN, SUSAN J.

  STABILE & BRUCE A. WOLK, PENSION AND EMPLOYEE BENEFIT LAW 557 (4th ed. 2006). This

  delegation is express authority to form an interpretive framework around the statutory text -        so

  long as those regulations are not contrary to the statutory text. The common law functions

  similarly here. Courts may look to it to help determine the statutory meaning. But the common

  law meaning itself may not overcome an otherwise-valid DOL regulation. Instead, the common

  law may reveal statutory meaning which then may overcome the DOL regulation.

          In the common law and now, fiduciary duties are "the highest known to the law."

 Schweitzer, 960 F.3d at 194 (internal quotation omitted). The common law duty of loyalty had

  stringent standards. It barred fiduciaries from being "influenced by the interest of any third

 person or by motives other than the accomplishment of the purposes of the trust." RESTATEMENT

  (THIRD) OF TRUSTS § 78 cmt. f (2007). To that end, the fiduciary cannot "be motivated by a

 purpose of advancing or expressing the trustee's personal views concerning social or political

  issues or causes." Id. § 90 cmt. c. At heart, the duty of loyalty prevented a fiduciary from

 benefitting from or placing his interest ahead of the beneficiaries' interests. And it extended to

 the interests of third parties. The duty of loyalty means if there is ever a hint of conflict between




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 the interests of the beneficiaries and the interests of the fiduciary or others, the fiduciary cannot

 consider any other interest than the beneficiaries. And in the ERISA context, that extends to

 barring the fiduciary from considering any other purpose than the beneficiaries' financial benefit.

        The Fifth Circuit has summarized these common law doctrines and rationales. "It is

 generally, if not always, humanly impossible for the same person to act fairly in two capacities

 and on behalf of two interests in the same transaction. Consciously or unconsciously he will

 favor one side as against the other, where there is or may be a conflict of interest." Fulton Nat.

 Bank v. Tate, 363 F.2d 562, 571 (5th Cir. 1966) (citing GEORGE GLEASON BOGERT, THE LAW OF

 TRUSTS AND TRUSTEES § 543 (2d ed. 1960)).

        Despite the apparent clarity of these doctrines, "considerable disagreement continues

 about what loyalty should require" in the social investing context. RESTATEMENT (THIRD) OF

 TRUSTS § 78 cmt. f (2007) (citing scholarship and cases). But a clear view of the common law

 reveals that it does not permit a fiduciary to act in two different capacities at once. A fiduciary, in

 the common law framework, may not act with conflicting interests because he "may favor the

 [other interest], whether consciously or unconsciously, over that of the beneficiaries." BOGERT,

 supra, § 543 (rev. 3d ed. Supp. 2024). Thus, "[n]o form of so-called 'social investing' is

 consistent with the duty of loyalty if the investment activity entails sacrificing the interests of

 trust beneficiaries-for example, by accepting below-market returns-in favor of the interests of

 the persons supposedly benefitted by pursuing the particular social cause." UNIF. PRUDENT INV.

 ACT§ 5 cmt. (UNIF. L. COMM'N 1994).

        The common law duty of loyalty accords with ERISA's text and adds clarity to its

 meaning. When ERISA's text is viewed through its common law roots, the 2022 Rule still does

 not violate ERISA's text. Nothing in the 2022 Rule permits sacrificing beneficiaries' financial




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 benefits to other interests. The common law duty of loyalty barred even the temptation for a

 fiduciary to act in multiple roles. The 2022 Rule does not allow a fiduciary to act in multiple

 roles. Instead, the fiduciary must keep the financial benefits of the beneficiaries as his exclusive

 purpose. He can only select plans that maximize the beneficiaries' financial benefits. He can

 select no other. The 2022 Rule explicitly recognizes this reality: "A fiduciary may not

 subordinate the interests of the participants and beneficiaries ... to other objectives, and may not

 sacrifice investment return or take on additional investment risk to promote benefits or goals

 unrelated to interests of the participants and beneficiaries ...." Prudence and Loyalty m

 Selecting Plan Investments and Exercising Shareholder Rights, 87 Fed. Reg. at 73885.

        Plaintiffs summarize that there "is no room for mixed motives, even if a fiduciary claims

 to not subordinate financial interests." ECF No. 144 at 7. But their description reveals they

 misread the 2022 Rule. It does not permit mixed motives. And it shows it is more than just a

 subordination principle. If it were such, a fiduciary could consider any other interests at any time,

 so long as the financial interests came first. But he cannot. Only when a fiduciary faces multiple,

 equal investment options may he select one using other factors if diversification is not prudent.

        That is how the 2022 Rule is written. It says only after a "fiduciary prudently concludes

 that competing investments, or competing investment courses of action, equally serve the

 financial interests of the plan" can he then consider "collateral benefits" to choose. 29 C.F.R.

 § 2550.404a-l(c)(2) (2023). Nothing about that language permits dual loyalties, competing

 purposes, or conflicts. By only permitting collateral benefit consideration once a tie is reached,

 the 2022 Rule excludes the possibility of competing purposes or conflicting interests. In short, it

 does not let a fiduciary "be motivated by a purpose of advancing or expressing [his] personal

 views." RESTATEMENT (THIRD) OF TRUSTS § 78 cmt. f (2007).




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        By requiring a financial tie between investment options, the 2022 Rule prohibits a

 fiduciary "from being put into a position where he has dual loyalties." N.L.R.B. v. Amax Coal

 Co., 453 U.S. 322, 334 (1981) (quoting H.R. CONF. REP. No. 93-1280, at 309 (1974), as

 reprinted in 1974 U.S.C.C.A.N. 5038, 5089). It merely lets him consider collateral benefits fully

 in accord with acting in the sole interest of the beneficiaries and for the exclusive purpose of

 securing their financial benefit. The 2022 Rule is not contrary to ERISA's text even when

 viewed through its common law source.

                D. Congressional Action and Inaction

        Plaintiffs invoke ERISA' s drafting history to argue that fiduciaries may not engage in

 social investing. ECF No. 144 at 11. They claim that Congress has considered several proposals

 allowing fiduciaries to engage in "social investing" but did not include such language in

 ERISA's final text. Id. (citing James D. Hutchinson & Charles G. Cole, Legal Standards

 Governing Investment of Pension Assets for Social and Political Goals, 128 U. PA. L. REv. 1340,

  1365-69 (1980)). Because Congress rejected those proposals, Plaintiffs argue that means

 ERISA' s text forbids social investing. Defendants respond that these proposals would have

 allowed outright social investing - not allowing collateral benefits to break virtual ties between

 investment options. ECF No. 167 at 7.

        Plaintiffs are correct that ERISA's text does not allow outright social investing. It does

 not allow consideration of any other factors but the beneficiaries' financial benefit when those

 collateral benefits alter the fiduciary's purpose or if he would be acting on behalf of multiple

 people simultaneously. But as explained, that is not what the 2022 Rule permits. It permits, in

 full accord with the fiduciary's duties, a fiduciary to look to collateral factors to break a tie when

 investment options would equally serve the plan, and prudence would disallow investing in both.




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 Of course ERISA prohibits outright social investing because then the fiduciary would be acting

 for a different purpose and on behalf of other interests.

          Even though Plaintiffs are correct, it is not because they invoke failed congressional

 proposals. Courts must refrain from the temptation to glimpse at proposals that do not pass

 bicameralism and presentment when interpreting statutes. See Immigr. & Naturalization Serv. v.

 Chadha, 462 U.S. 919, 947-51 (1983) (explaining the necessity of bicameralism and

 presentment before affording improper weight to Congress's pronouncements). "Failed

 legislative proposals are 'a particularly dangerous ground on which to rest an interpretation of a

 prior statute."' United States v. Craft, 535 U.S. 274, 287 (2002) (quoting Pension Benefit Guar.

 Corp. v. LTV Corp., 496 U.S. 633, 650 (1990)) . They are dangerous because "several equally

 tenable inferences may be drawn from such inaction, including the inference that the existing

 legislation already incorporated the offered change." Cent. Bank of Denver, NA. v. First

 Interstate Bank of Denver, NA., 511 U.S. 164, 187 (1994) (quoting Pension Benefit Guar. Corp.,

 496 U.S. at 650). Thus, they deserve "little weight" despite some inconsistency in the Supreme

 Court's use of them. 1 Id.

          Plaintiffs' own authority takes a view different from theirs and illustrates why courts

 should not depend on failed legislative proposals in statutory interpretation. See Hutchinson &

 Cole, supra, at 1367 (explaining that despite the failed legislative proposals, "an argument can be

 1
   None of this is to say failed legislative proposals never have purchase. For example, they can be relevant to
 assessing whether an agency action implicates a major question. In West Virginia v. EPA, Justices Gorsuch and
 Alito clarified the difference. If "Congress has 'considered and rejected' bills authorizing something akin to the
 agency's proposed course of action" then that "may be a sign that an agency is attempting to 'work around' the
 legislative process to resolve for itself a question of great political significance." West Virginia v. Env 't Prat.
 Agency, 597 U.S. 697, 743 (2022) (Gorsuch, J., concurring) (first quoting id. at 731; and then quoting Nat 'l Fed'n of
 lndep. Bus. v. Occupational Safety & Health Admin., 595 U.S. 109, 122 (2022) (Gorsuch, J., concurring)). They
 reiterated that when using failed legislation, it is not to "resolve what a duly enacted statutory text means, only to
 help resolve the antecedent question whether the agency's challenged action implicates a major question." Id. at 743
 n.4. This is not an example of the Court's inconsistent use of failed legislative proposals. Because, as explained, the
 Court need not revisit the major-questions analysis, it declines to credit failed legislative proposals here.




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 made that when a fiduciary has narrowed his list of potential investments to economically

 comparable alternatives, the statute should not proscribe his selection of the alternative that in

 the long run may produce indirect benefits").

        For similar reasons, Plaintiffs' argument that Congress has expressed its disapproval of

 the 2022 Rule is unpersuasive. Congress passed a resolution advancing its view that the 2022

 Rule does not implement ERISA. See H.R.J. Res. 30, 118th Cong. (2023). But then-President

 Biden vetoed that resolution. For the same reasons that DOL's interpretation of ERISA is not

 persuasive, Congress's unenacted views do not dictate ERISA's meaning. See Loper Bright, 144

 S. Ct. at 2262 (explaining that agency interpretations are "especially useful" only if they were

 issued "contemporaneously with the statute" and have "remained consistent over time"). Rather,

 courts interpret the law. See Loper Bright, 144 S. Ct. at 2257 ("When the meaning of a statute

 [is] at issue, the judicial role [is] to 'interpret the act of Congress .. . . "' (quoting Decatur v.

 Paulding, 39 U.S. (14 Pet.) 497, 515 (1840))). Congress can offer views but without

 bicameralism and presentment, its views remain mere views. Chadha, 462 U.S. at 947-48

 (explaining presentment "reflects the Framers' careful efforts to check whatever propensity a

 particular Congress might have to enact ... ill-considered measures").

        CONCLUSION

        Plaintiffs would have this Court vacate the 2022 Rule to "restore the protections of the

 2020 rules." ECF No. 39 at 25. However, the 2020 Rule has a tiebreaker provision that would

 also violate Plaintiffs' interpretation of ERISA. But ERISA's text does not invalidate the

 tiebreaker provision of the 2020 Rule or the 2022 Rule. Fiduciaries should strenuously guard

 against letting impennissible considerations taint their decisions. And wisdom would counsel the

 protections of the 2020 Rule to aid this prevention. See Financial Factors in Selecting Plan




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 Investments, 85 Fed. Reg. 72884. But it is not the province of the Court to decide the wisest

 outcome. Rather, it interprets the law as it finds it. The 2022 Rule does not permit a fiduciary to

 act for other interests than the beneficiaries' or for other purposes than the beneficiaries'

 financial benefit. For that reason, under the Loper Bright standard, it is not contrary to law.

 Accordingly, Plaintiffs' Motion is DENIED and Defendants' Motion is GRANTED.

        SO ORDERED.

        February   J!/., 2025
                                                      MAT HEW J. KACSMARYK
                                                      UNI ED STATES DISTRICT JUDGE




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